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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

DERRICK SIMS,                               :
                                            :
                      Plaintiff,            :
                                            :
       v.                                   : Case No. 1:20-cv-01243- (CJN)
                                            :
                                            :
WASHINGTON METROPOLITAN                     :
AREA TRANSIT AUTHORITY                      :
                                            :
                  Defendant.                :
________________________________            :


  DEFENDANT WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY’S
    REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
                        SUMMARY JUDGMENT



       Defendant WMATA hereby files its Reply to Plaintiff’s Opposition to Defendant’s

Motion for Summary Judgment and contends the following:

WMATA’s Legitimate Nondiscriminatory Reason for Terminating Plaintiff Is Clear and
Supported by Overwhelming Evidence

       In his Opposition, Plaintiff argues that WMATA’s legitimate, nondiscriminatory reason

for terminating Plaintiff —namely his violation of WMATA’s Electronic Device Policy due to

his obvious use of his personal cell phone while operating a WMATA Metrobus —does not

satisfy the four-factor test for determining the adequacy of an employer’s nondiscriminatory

reason for its employment action as articulated in Figueroa v. Pompeo, 923 F.3d 1078, 1087

(D.C. Cir. 2019). However, not only has WMATA clearly articulated its nondiscriminatory

reason for terminating Plaintiff, it has done so with overwhelming evidence including witness
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testimony, an investigation report, and a video of the incident clearly showing Plaintiff’s

violation.

       The Figueroa factors for determining the adequacy of an employer’s evidentiary proffer

of its legitimate, nondiscriminatory reason for its employment decision are: (1) the employer

must produce evidence that a factfinder may consider at, in this instance, a summary judgment

proceeding; (2) if the factfinder believes the evidence, it must reasonably be able to find that the

employer’s action was motivated by a nondiscriminatory reason; (3) the nondiscriminatory

reason given must be facially credible in light of the proffered evidence; and (4) the proffered

evidence presents a clear and reasonably specific explanation. Hogan v. Hayden, 406 F. Supp.3d

32, 44 (D.D.C. 2019) (citing Figueroa at 1087).

       WMATA has clearly met its burden under Figueroa. First, Plaintiff has not objected to

the admissibility of the video of the incident, the investigation report detailing the facts that

formed the basis of Plaintiff’s termination, testimony from witnesses and WMATA’s Rule

30(b)(6) deponent, nor the termination letter that clearly states the nondiscriminatory reason for

Plaintiff’s termination.

       Second and third, WMATA presented evidence that it had legitimate reasons,

independent of race, for terminating Plaintiff that is facially credible. The video of the incident

clearly shows Plaintiff holding and looking at his cell phone while driving, which WMATA has

repeatedly interpreted as “use” of a cell phone in violation of its electronic device policy.

WMATA produced evidence and testimony that Plaintiff was using his cellphone while driving a

WMATA Metrobus, which mandates automatic termination. Employee actions in clear violation

of a company’s policy are legitimate, nondiscriminatory reasons for an adverse action. Hogan at

32 (citing Lewis v. Booz-Allen & Hamilton, Inc., 150 F. Supp. 2d 81, 95 (D.D.C. 2001)).

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        Finally, WMATA satisfies the fourth factor because its legitimate, nondiscriminatory

reason is sufficiently clear and specific enough for Plaintiff to be placed on notice of what

reasoning he must challenge, specifically whether he violated WMATA’s Electronic Device

Policy. Id. The clarity of WMATA’s nondiscriminatory reason for Plaintiff’s termination is

bolstered by Plaintiff’s assertion that he was not “using” his personal cellphone. The fact that

Plaintiff asserts such an argument underscores that he clearly understands what reasoning he

must attack to rebut WMATA’s reason as pretext, which is the reason why the Figueroa court

developed the test in the first place.

Plaintiff Cannot Overcome WMATA’s Honest Belief of Plaintiff’s Violation of the
Electronic Device Policy

        Regardless, Plaintiff’s true argument is not that WMATA’s proffered reason for

terminating him is unclear using the four-factor test articulated in Figueroa, his real allegation is

that WMATA’s decision to terminate him was incorrect; however, at the summary judgment

stage, a plaintiff cannot survive summary judgment merely by asserting that his employer made a

bad decision. Morris v. McCarthy, 825 F.3d 658, 671 (D.C. Cir. 2016).

        Title VII “does not authorize a federal court to become a super-personnel department that

reexamines an entity’s business decisions.” Hogan at 45 (quoting Barbour v. Browner, 181 F.3d

1342, 1346 (D.C. Cir. 1999)). Furthermore, a court “may not second-guess an employer’s

personnel decisions absent [a] demonstrably discriminatory motive.” Fischbach v. D.C. Dep’t of

Corr., 86 F.3d 1180, 1183 (D.C. Cir. 1996). The appropriate question is whether WMATA

honestly believed that Plaintiff violated the electronic device policy and terminated Plaintiff

based on that belief. Hogan at 45 (citing Morris, 825 F.3d at 671) (To survive summary

judgment, the employee must raise a genuine dispute over the employer’s honest belief in its


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proffered explanation.”) (emphasis added); see also George v. Leavitt, 407 F.3d 405, 415 (D.C.

Cir. 2005) (An “employer’s actions may be justified by a reasonable belief in the validity of the

reason given even through that reason may turn out to be false.”). More importantly, if the

employer’s stated reasons for termination of the employee is reasonable considering the

evidence, there is no basis under normal circumstances for allowing a jury to conclude that the

employer is lying about the underlying facts. Leavitt at 415. Therefore, to survive summary

judgment, Plaintiff cannot just show that WMATA’s reasons were unfair, unjust, or not sensible,

he must show that the explanation given was phony.

       In this case, there is overwhelming evidence by video and testimony that Plaintiff

violated the electronic device policy by using his cellphone on a revenue vehicle. See Laughery

email [Dkt. 15-4] and Video of Incident [Dkt. 15-12]. In his opposition, Plaintiff argues that

what Plaintiff was doing with his cellphone cannot be defined as “using his cellphone,” but that

is beside the point. WMATA, based on evidence proffered to this court, terminated Plaintiff

because of its honest and reasonable belief that Plaintiff violated the electronic device policy and

Plaintiff’s termination is based solely on that belief, which WMATA still contends is proven

after watching the video.

       Plaintiff quibbles over whether WMATA could have punished Plaintiff less severely

because Plaintiff is not observed talking or texting on his phone; however, there is no debate

even by Plaintiff that there was no violation of the electronic device policy; therefore, the Court

can infer that WMATA’s reasons for terminating Plaintiff in accordance with the policy was

based on a reasonable belief of its violation.

       Finally, WMATA stands by its argument in its motion for summary judgment that

Plaintiff has failed to present proper comparator evidence because the white employee he

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proffers as a comparator is not similarly situated to Plaintiff because both persons violated

completely different work rules.

Regardless of Whether WMATA’s Immunity Applies, Plaintiff’s Wrongful Termination
Claims Must Still Be Dismissed.

        Plaintiff’s three tort claims based on wrongful termination (Count II) and “negligent

termination” (Count III and IV) must be dismissed because all three claims are based on

Plaintiff’s allegations of racial discrimination, which is already protected by Title VII.

        In the District of Columbia, wrongful termination claims are limited to claims when the

sole reason for the termination “offends some mandate of public policy firmly anchored either in

the Constitution, a statute, or regulation which clearly reflects the particular public policy being

relied upon.” Lockhart v. Coastal Int’l Security, Inc., 5 F.Supp.3d 101, 106 (D.D.C. 2013).

        Wrongful termination in violation of public policy is a recognized claim in the District of

Columbia. Initially, it was only available to at-will employees since it was considered a very

narrow exception to the at-will employment doctrine. Adams v. Cochran & Co., 597 A.2d 28

(D.C. 1991). Subsequently, wrongful termination in violation of public policy claims were

extended to unionized employees and other employees covered by an employment contract. Byrd

v. VOCA Corp. of Washington, D.C., 962 A.2d 927, 933-34 (D.C. 2008).

        However, a plaintiff may not seek relief under a theory of wrongful termination in

violation of public policy if the alleged public policy is articulated in a statute that carries its own

remedy for violation. Lockhart at 106. (citing McManus v. MCI Commc’ns Corp., 748 A.2d 949,

957 (D.C. 2000)) (refusing to create a public policy exception for claims of wrongful termination

based on discrimination because the District of Columbia Human Rights Act (“DCHRA”)

already protects the same public policy); see also Hoskins v. Howard Univ., 839 F. Supp.2d 268,


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281 (D.D.C. 2012) (noting that the anti-retaliation provisions of Title VII and the DCHRA

provide their own remedies for such conduct; therefore, Title VII cannot serve as a basis for

plaintiff’s common law wrongful discharge claim).

          WMATA stands by its argument that it enjoys sovereign immunity for torts committed in

the performance of its discretionary decision to terminate Plaintiff’s employment, and Plaintiff’s

argument that WMATA’s decision to terminate him was ministerial because it was mandated by

WMATA’s Electronic Device Policy is completely undermined by Plaintiff’s argument that

WMATA had a choice of what discipline to charge Plaintiff; thus, discretion in part B of his

Opposition.

          Regardless, all three of Plaintiff’s wrongful termination claims are based on his allegation

that WMATA either intentionally or “negligently” terminated Plaintiff because he is African

American. (Comp. ¶ ¶ 52-77) [Dkt. 1]. Employment actions based on racial discrimination are

already covered by the DCHRA 1 and Title VII; therefore, Plaintiff’s wrongful termination claims

must be dismissed because they do not fall within the narrow public policy exception for

common law wrongful termination claims in the District of Columbia.

          Wherefore, for the reasons in its Motion for Summary Judgment and this Reply,

WMATA respectfully request judgment in its favor.




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    WMATA is not subject to the DCHRA. Ndzerre v. WMATA, 174 F. Supp.3d 58 (D.D.C. 2016)

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                                  Respectfully submitted,


                                  WASHINGTON METROPOLITAN
                                  AREA TRANSIT AUTHORITY



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                               CERTIFICATE OF SERVICE

       I certify that, on this 16th day of March 2022, a copy of the foregoing Defendant’s Reply

to Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment was electronically

transmitted to:

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                                                    /s/ Michael K. Guss
                                                    Michael K. Guss




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